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Rev. ϭϭͬϮϬϮϬ



                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


KAWANA WILLIAMS


                       Plaintiff
                                                        Civil No.                    24-3299      (ABJ)
                 vs.

AMAZON.COM INC                                         Category F



                           Defendant




                                       REASSIGNMENT OF CIVIL CASE

      The above-entitled case was reassigned on       3/10/2025     from Judge Loren L. AliKhan

to Judge Amy Berman Jackson                            by direction of the Calendar Committee.



                                     (Case Related)


                                                                  JUDGE 58'2/3+&2175(5$6
                                                                  Chair, Calendar and Case
                                                                  Management Committee


cc:             Judge Loren L. AliKhan                              & Courtroom Deputy
                Judge Amy Berman Jackson                      & Courtroom Deputy
               Liaison, Calendar and Case Management Committee
